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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHEN DISTRICT OF TEXAS
                               HOUSTON DIVISION


ATARAH MCCOY                                    §
                                                §
       Plaintiff,                               §
                                                §
vs.                                             §        CIVIL ACTION NO.: 4:23-CV-04127
                                                §        JUDGE CHARLES ESKRIDGE
                                                §
SHAULIS BOOKER AND                              §
TELAMON CORPORATION                             §
                                                §
       Defendants.                              §
                                TRIAL WITNESS LIST OF
                             DEFENDANTS SHAULIS BOOKER
                              AND TELAMON COPORATION


      NO.            WITNESS NAME                            WITNESS ADDRESS
      1.    Jacob Weinberg, M.D.                    3536 Hwy 6 South, #271
                                                    Sugar Land, Texas 77478
               Live           Deposition
               Fact           Expert          Record Custodian
              Brief description of witness capacity and testimonial topics:
              Dr. Weinberg is Board Certified by the American Board of Orthopedic Surgery.
              He is licensed to practice medicine in Texas, Florida, New York, and
              Massachusetts, and specializes in spinal surgery.
             Dr. Weinberg is expected to testify regarding the nature and extent of Plaintiff’s
             alleged injuries, whether there is a causal link between those injuries and the
             incident at issue in this suit, the reasonable medical necessity of any medical
             treatment Plaintiff has received or is recommended to receive, and the
             reasonableness of the costs associated with such treatment. Dr. Weinberg is
             expected to testify regarding the origin, nature, and extent of Plaintiff’s claimed
             injuries; the reasonableness and necessity of Plaintiff’s medical treatment and
             expenses; and Plaintiff’s past, present, and future medical conditions, including
             the relationship, if any, of those conditions to the accident made the basis of
             this lawsuit. Dr. Weinberg will also provide testimony and opinions regarding,
             but not limited to, the investigation of, and/or opinions rendered by Plaintiff’s
             expert(s) and any other issues that may arise in this litigation regarding and
             relating to Plaintiff’s medical care and need for future surgery.
      2.    John Laughlin, M. Eng., P.E.             Laughlin Engineering Firm, LLC
                                                     14027 Memorial Drive #364
                                                     Houston, Texas 77079-6826

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            Live            Deposition
            Fact            Expert          Record Custodian
           Brief description of witness capacity and testimonial topics:
           Mr. Laughlin is a biomechanical engineer with extensive experience in
           biomechanical evaluation of injuries in automotive collisions. He also has
           experience in the areas of accident reconstruction, human factors engineering,
           medical devices, and 3D modeling.
           He is expected to testify regarding the nature and extent of Plaintiffs’ alleged
           injuries and whether there is a causal link between those injuries and the
           alleged incident at issue in this suit. Mr. Laughlin will also testify as to whether
           sufficient forces were present in the subject incident that could have caused the
           injuries alleged by Plaintiff. Mr. Laughlin may also be called to testify about
           any report and/or opinion given by Plaintiff’s treating physicians and/or alleged
           experts named by or relied upon by Plaintiff.
    3.    Daniel Yul Kim, M.D., FHM, FACP 1200 East Collins Blvd., Suite 210
                                                  Richardson, Texas 75081
            Live            Deposition
            Fact            Expert          Record Custodian
           Brief description of witness capacity and testimonial topics:
           Dr. Kim is a licensed physician and Fellow of the American College of
           Physicians and Fellow of the Society of Hospital Medicine. He is a hospitalist
           with a specialty certification from the American Board of Internal Medicine.
           Dr. Kim is expected to testify regarding the reasonableness and necessity of
           certain of Plaintiff’s medical treatment and expenses. Dr. Kim may also provide
           testimony and opinions regarding, but not limited to, the investigation of,
           and/or opinions rendered by Plaintiff’s expert(s) and any other issues that may
           arise in this litigation regarding and relating to Plaintiff’s past and future
           medical care.




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    4.    Thomas Cartwright, M.D.                1200 East Collins Blvd., Suite 210
                                                 Richardson, Texas 75081
            Live           Deposition
            Fact           Expert          Record Custodian
           Brief description of witness capacity and testimonial topics:
           Dr. Cartwright is a licensed physician in the field of orthopedics who obtained
           his Doctor of Medicine degree in 1990.
           Dr. Cartwright is expected to offer opinions concerning the reasonableness of
           the cost of the services rendered to Plaintiff by Viking Pain Management. Dr.
           Cartwright may also render rebuttal opinions in relation to the opinions of other
           parties’ experts.
    5.    Elizabeth Jones, M.D.                 1200 East Collins Blvd., Suite 210
                                                Richardson, Texas 75081
            Live           Deposition
            Fact           Expert          Record Custodian
           Brief description of witness capacity and testimonial topics:
           Dr. Jones is a doctor who has been a Diplomat of the American Board of
           Radiology since 1995. Dr. Jones specializes in Radiology and her subspecialty
           is Musculoskeletal Imaging.
           She is expected to offer opinions concerning the reasonableness of the cost of
           the services rendered to Plaintiff by Memorial MRI. Dr. Jones may also render
           rebuttal opinions in relation to the opinions of other parties’ experts.




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